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                                   #:733


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 5 Los Angeles, CA 90067-3012
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 6 Facsimile: 310.788.4471
 7 Attorneys for Defendant
   ViacomCBS Inc.
 8
 9
                       UNITED STATES DISTRICT COURT
10
                     CENTRAL DISTRICT OF CALIFORNIA
11
                                 WESTERN DIVISION
12
13 CANDESHA WASHINGTON,                  ) Case No. 2:20-cv-00435
                                         )
14                   Plaintiff           ) DECLARATION OF JOANNA M.
                                         ) HILL IN SUPPORT OF MOTION
15           v.                          ) FOR ATTORNEYS’ FEES AND
                                         ) COSTS
16 VIACOMCBS, INC.; AND DOES 1           )
   THROUGH 50,                           )
17                                       ) [Hon. Consuelo B. Marshall]
                Defendants.              )
18                                       ) [Notice of Motion and Motion for
                                         ) Attorneys’ Fees and Costs and
19                                       ) [Proposed] Order filed concurrently
                                         ) herewith]
20                                       )
                                         ) Date: July 20, 2021
21                                       ) Time: 10:00 A.M.
                                         ) Place: Room 8B
22                                       )
                                         )
23                                       )
                                         )
24
25
26
27
28


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 1                          DECLARATION OF JOANNA M. HILL
 2           I, Joanna M. Hill, hereby declare as follows:
 3       1. I am an attorney duly licensed to practice law before all courts in the State of
 4 California. I am an attorney in the law firm Katten Muchin Rosenman LLP (“Katten”),
 5 which is counsel of record for defendant ViacomCBS Inc. (“Defendant”). I have
 6 personal knowledge of the matters set forth in this declaration, and I could and would
 7 competently testify to those facts under oath if I were called upon to do so.
 8       2. I am submitting this declaration in support of the Defendant’s Motion for
 9 Attorneys’ Fees and Costs (the “Fee Motion”).
10       3. On January 16, 2020, Plaintiff Candesha Washington (“Plaintiff”) filed her initial
11 complaint asserting claims for (i) copyright infringement, (ii) unfair competition, and
12 (iii) declaratory relief. (ECF No. 2.) This complaint was dismissed on October 20,
13 2020 following Defendant’s successful motion to dismiss. (ECF No. 25) On December
14 17, 2020, Plaintiff filed an amended complaint (ECF No. 45), and it was subsequently
15 dismissed with prejudice on May 21, 2021 following a second motion to dismiss filed
16 by Defendant. (ECF No. 54).
17       4. Defendant has used its best efforts to resolve this litigation informally without
18 engaging in motion practice. On February 10, 2020, I sent Plaintiff’s counsel a detailed
19 meet and confer letter identifying the deficiencies in Plaintiff’s initial complaint and
20 explaining the substance of Defendant’s anticipated motion to dismiss. A true and
21 correct copy of the February 10 letter is attached hereto as Exhibit 1. On February 14,
22 2020, counsel for the parties met and conferred telephonically regarding the substance
23 of Defendant’s intended motion to dismiss.           I advised Plaintiff’s counsel that (i)
24 Plaintiff’s allegations of access were deficient, (ii) there was no meaningful, much less
25 substantial, similarity between the works in question, (iii) the infringement claim based
26 on the proposed Clueless series was not ripe for adjudication, (iv) the declaratory relief
27 claim was deficient for the same reasons as the copyright infringement claims, and (v)
28 the unfair competition claim was preempted by the Copyright Act.                During the

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 1 February 14 meeting, Plaintiff’s counsel stated that he would not amend the complaint
 2 because the allegations of access were sufficient and Plaintiff’s works and Defendant’s
 3 works had significant similarities.
 4       5. Plaintiff’s prior counsel, Kenneth Gross, and his firm, Kenneth Gross and
 5 Associates, hold themselves out to the public as possessing over 50 years of combined
 6 experience in intellectual property matters including the prosecution of infringement
 7 claims. A true and correct copy of Mr. Gross’s intellectual property page from the
 8 website of his law firm is attached hereto as Exhibit 2.
 9       6. On June 8, 2021, I emailed Plaintiff to advise her that Defendant intended to file
10 the Fee Motion and requested a brief phone call to discuss the substance of the motion
11 in accordance with Local Rule 7-3. Plaintiff initially stated that she “need[ed] to confer
12 with [her] new legal representation” before agreeing to participate in the parties’ meet
13 and confer call, but then on June 10 claimed that she was still “working closely with the
14 California Lawyers for the Arts to secure a new lawyer.” On the morning of June 10,
15 2021, after Plaintiff had made clear she would not make herself available for a virtual
16 or telephonic meeting that day, counsel for Defendant sent Plaintiff a detailed meet and
17 confer email laying out the substance of Defendant’s anticipation motion for fees.
18       7.      On June 11, 2021, Plaintiff finally agreed to meet to discuss Defendant’s
19 motion for fees. That afternoon, Plaintiff and Defendant’s counsel participated in a
20 Zoom virtual conference where they further discussed the basis of this Fee Motion.
21 During the conference, Plaintiff stated that unless Defendant agrees to purchase her
22 works, she intends to (i) continue litigating her claims, (ii) gather other writers together
23 to file a similar lawsuit against Defendant and (iii) speak with the media about
24 Defendant purportedly stealing ideas from a Black female writer. A true and correct
25 copy of the June 8-11 email exchange is attached hereto as Exhibit 3.
26                        The Reasonableness of the Hourly Rates Charged
27       8.      Mr. Halberstadter was primarily responsible for defending this action on behalf
28 of Defendant. His current hourly rate is $1,115 per hour, but the agreed upon hourly

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 1 rate for this matter remained at $1,000 per hour even after his regular hourly rate
 2 increased. Mr. Halberstadter has been an attorney for 39 years. He graduated magna
 3 cum laude from Georgetown University Law Center in 1982, where he was an Editor of
 4 the law school’s international law journal.         He was a Partner specializing in
 5 entertainment-related and intellectual property litigation at Troop Steuber Pasich
 6 Reddick & Tobey, LLP for 10 years (from 1990-2000) prior to becoming a partner at
 7 Katten in 2000.           He has substantial experience in intellectual property and
 8 entertainment litigation, having practiced in this area continuously for more than 25
 9 years. In addition to other professional recognitions, in 2010, he was recognized as a
10 ‘Power Lawyer’ on The Hollywood Reporter’s list of the 100 most influential
11 entertainment lawyers in the United States and was named one of California’s Top
12 Intellectual Property Litigators by the Los Angeles Daily Journal in 2014 and 2017-
13 2021. He has also been ranked in Chambers USA as a top litigator in entertainment and
14 media litigation.
15       9.      I am an entertainment litigation associate and joined Katten in 2014. My
16 current hourly rate is $835 per hour, but the agreed upon hourly rate for this matter
17 remained at $745 per hour even after my regular hourly rate increased. I graduated
18 from University of Southern California, Gould School of Law in 2014. I have taken a
19 senior role litigating a number of cases, including the successful defense of multiple
20 copyright infringement claims. In 2018, I was recognized by Variety Magazine in its
21 Legal Impact Report as an attorney who is “Up Next” in the entertainment and media
22 world.
23       10. Ms. Palmer is an entertainment litigation associate and joined Katten in 2019.
24 Her current hourly rate is $585 per hour, but the agreed upon hourly rate for this matter
25 remained at $490 per hour even after her regular hourly rate increased. She graduated
26 from University of Southern California, Gould School of Law in 2019.            She has
27 litigating several cases, including the successful defense of copyright infringement
28 claims.

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 1       11. Prior to drafting this declaration, I researched the hourly rates charged for
 2 partners and associates with similar experience and expertise to Mr. Halberstadter’s,
 3 Ms. Palmer’s and mine at comparable law firms in the greater Los Angeles area.
 4 Among other things, I am familiar with billing surveys that courts in this district have
 5 relied on in determining the reasonableness of fees charged by comparable firms in Los
 6 Angeles, including surveys published by the National Law Journal (“NLJ”) and the
 7 American Intellectual Property Law Association (“AIPLA”). By way of example,
 8 according to the NLJ Survey published in 2017, the average partner rate for Greenberg
 9 Traurig was $790, $1,000 for King and Spaulding, and $1,135 for Sidley & Austin. I
10 am informed and believe that according to the 2017 AIPLA Survey, the third quartile
11 (top 75%) of billing rates for Intellectual Property partners practicing in Los Angeles
12 was $770 per hour. In addition, I reviewed several attorney fee declarations accessible
13 on PACER and court decisions from recent copyright cases in the Central District of
14 California. Based on the foregoing sources, I am generally familiar with the hourly
15 rates charged by comparable firms in the Los Angeles legal market. Accordingly, I am
16 informed and believe in good faith that the rates Katten charged for Mr.
17 Halberstadter’s, Ms. Palmer’s and my time on this matter is reasonable, and consistent
18 with the hourly rates being charged in the Los Angeles legal community for attorneys at
19 similar levels and with the similar experience.
20       12. Moreover, Katten applied a 15 percent discount to all of the fees billed to
21 Defendant, which is reflected in the total fees requested by the Fee Motion.
22 Accordingly, Mr. Halberstadter’s effective hourly rate for this matter was $850 per
23 hour; Ms. Palmer’s effective hourly rate for this matter was $415 per hour; and my
24 effective hourly rate for this matter was $633 per hour.
25                                   Summary of Time Spent
26       13.     In support of this Fee Motion, I have attached hereto as Exhibit 4 true and
27 correct copies (redacted only to preserve the substance of attorney-client privileged
28 communications and attorney work product) of invoices for the months of January 2020

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 1 (when Plaintiff filed her initial complaint) through the end of May 2021 (when the
 2 Court dismissed Plaintiff’s amended complaint with prejudice). I have personally
 3 reviewed each monthly invoice and each redaction.              Each invoice provides a
 4 description of the services rendered, the identity of each attorney who rendered the
 5 services, the hourly rate Defendant was charged and the amount of time each attorney
 6 spent on each task. We did not duplicate our efforts or “double charge” for the same
 7 work. Exhibit 4 supports Defendant’s request for $233,667.22 in attorneys’ fees and
 8 $1051.53 in costs which were incurred from January 2020 through May 2021. In
 9 addition, and in order to aid the Court in its analysis of the Fee Motion, attached hereto
10 as Exhibit 5 is a spreadsheet summarizing the total aggregate time spent and fees and
11 costs charged per invoice.
12       14. Defense counsel spent 398 hours in the aggregate litigating this matter
13 (excluding time spent on the Fee Motion) including accomplishing the following tasks,
14 among others:
15           (1) Conducting the initial case investigation;
16           (2) Reviewing Plaintiff’s works and comparing them to the allegedly infringing
17 Bull episode;
18           (3) Corresponding with Plaintiff and her prior counsel regarding the merits of,
19 and potential grounds for dismissal of, Plaintiff’s initial complaint;
20           (4)   Researching and drafting the motion to dismiss the initial complaint,
21 reviewing Plaintiff’s opposition to the original motion to dismiss (including the motion
22 itself and an extensive request for judicial notice), researching and drafting a reply in
23 support of the motion to dismiss, preparing for and participating in the hearing on
24 Defendant’s motion, and reviewing/analyzing the Court’s ruling thereon;
25           (5) Evaluating Plaintiff’s motion to amend her complaint, and research and
26 drafting of an opposition to the motion to amend; and
27           (6) Reviewing Plaintiff’s proposed amended complaint, additional research and
28 drafting the motion to dismiss Plaintiff’s amended complaint, reviewing Plaintiff’s

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 1 opposition to the motion, researching and drafting a reply brief, preparing for and
 2 participating in the hearing on Defendant’s motion to dismiss the amended complaint,
 3 reviewing/analyzing the Court’s ruling thereon and drafting a proposed Judgment
 4 thereon.
 5       15. Excluding preparation of this Fee Motion, Mr. Halberstadter billed in excess of
 6 151 hours. I billed in excess of 101 hours. Ms. Palmer billed in excess of 145 hours.
 7 While I handled a significant amount of the substantive work on this matter from
 8 January 2020 to early August 2020, I went on maternity leave in mid-August 2020 and
 9 did not return until mid-April 2021.         During this interim period, Mr. Halberstadter and
10 Ms. Palmer handled the defense of this action, with Mr. Halberstadter allocating the
11 necessary work between the two of them, in the manner that he considered most
12 appropriate and efficient.
13       16. Defendant has also incurred approximately $34,000 in fees in connection with
14 the Fee Motion and the supporting papers. I will have expended approximately 33
15 hours negotiating a settlement with Plaintiff to avoid this Fee Motion, as well as
16 researching, drafting and revising the motion, the supporting declaration and supporting
17 exhibits. Mr. Halberstadter will have expended approximately 8 hours reviewing and
18 revising the Fee Motion and supporting papers.               Ms. Palmer will have expended
19 approximately 16 hours researching other issues and reviewing and revising the Fee
20 Motion and supporting papers, primarily to ensure compliance with local rules and
21 requirements. This amounts to a total request of $268,718.75 in attorneys’ fees and
22 costs in connection with this litigation through the preparation and filing of the Fee
23 Motion (exclusive of any fees incurred in connection with any reply briefing and/or
24 hearings on the Fee Motion).
25               I declare under penalty of perjury that the foregoing is true and correct and that
26 this declaration was executed on June 17, 2021 at Los Angeles, California.
27
28                                                           /s/ Joanna M. Hill
                                                             Joanna M. Hill
                                                     7
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                        EXHIBIT 1
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                                                                                                                         KattenMuchinRosenman        llp


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                                                                                                                         Los Angeles, CA 90067-3012
 February 10, 2020                                                                                                       310.788.4400 tel
                                                                                                                         www.kattenlaw.com
 VIA U.S. MAIL AND E-MAIL
                                                                                                                         Joanna M. Hill
 Kenneth Gross, Esq.                                                                                                     joanna.hill@kattenlaw.com
                                                                                                                         310.788.4474 direct
 Kenneth I. Gross & Assoc.                                                                                                310.788.4471 fax
 849 S. Broadway, Ste. 504
 Los Angeles, CA 90014
 kgross@kigrosslaw.com

 Re:         Washington v. ViaconiCBS Inc., 20-CV-00435 (C.D. Cal.)

 Dear Mr. Gross:

         We write to meet and confer with you in connection with Defendant ViacomCBS’s
 (“Defendant”) intention to move for dismissal of Plaintiff Candesha Washington’s (“Plaintiff’)
 Complaint pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, and
 to seek attorneys’ fees and costs pursuant to 17 U.S.C. § 505. The Complaint is legally deficient
 for the following reasons:

         (1) Plaintiff has failed to allege that Defendant had legally cognizable access to either of
 Plaintiffs works.

         (2) The allegedly infringing episode from the television series Bull is not even remotely
 similar, much less substantially similar in copyright-protected expression, to either of Plaintiff s
 works.

         (3) Plaintiffs claim based on the proposed Clueless television series is not ripe for
 adjudication, and the alleged similarities, even assuming they were to exist in any final work, are
 insufficient as a matter of law.

         (4) Finally, Plaintiffs claim for violations of California Business and Professions Code
 sections 17200 et seq. are preempted by the Copyright Act.

         Plaintiff bases her infringement claims on her copyrighted pilot script, entitled
 ttSquadGoals (the “Pilot”), and her so-called “treatment” (the “Treatment”) - which more
 accurately was a completed application that Plaintiff allegedly provided to Imagine Impact LLC
 (“Imagine Impact”). (Together, the Pilot and the Treatment are referred to as the “Works”).
 Plaintiff alleges that an episode of the CBS television series Bull, entitled “Her Own Two Feet,”
 and a possible Clueless series, infringe upon the Works. The manifest legal defects in these
 claims are explained in greater detail below.

 No Access

         Plaintiff fails to allege that Defendant had any access to the Pilot whatsoever. Rather,
 Plaintiff claims only that at some point in time, she sent a copy of the Treatment to Imagine
 Impact. Plaintiff alleges on information and belief that Defendant had access to the Treatment
                    AUSTIN     CENTURY CITY      CHARLOTTE           CHICAGO         HOUSTON          IRVING     LOS ANGELES
                    NEW YORK     ORANGE COUNTY          SAN FRANCISCO BAY AREA                SHANGHAI         WASHINGTON, DC
                                              LONDON: KATTEN MUCHIN ROSENMAN UK LLP
                                       A limited liability partnership including professional corporations


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  because Defendant’s predecessor, CBS Corporation (“CBS”), had a “first look” deal with
  Imagine Impact.

          Plaintiff simply assumes that because she allegedly sent her Treatment to a third party
  that supposedly had some kind of business relationship with CBS, that third party must have
  disclosed the Treatment to CBS; and, thereafter, CBS and/or Defendant must have used the
  Treatment to create the Bull episode and the proposed Clueless series. These allegations are
  utterly speculative and do not sufficiently allege any legally cognizable access. See Chavez v.
  U.S., 683 F.3d 1102, 1108 (9th Cir. 2012) (“Mere conclusory statements in a complaint and
  ‘formulaic recitations of the elements of a cause of action’ are not sufficient.”); Bell Atlantic
  Corp. v. Twombly, 550 U.S. 544, 555 (2007) (court will not accept as true “a legal conclusion
  couched as a factual allegation”).

  No Substantial Similarity

         A motion to dismiss a copyright infringement claim should be granted when, after
  comparing the works, the court concludes that “no reasonable jury could find that the works are
  substantially similar, or if it concludes that the similarities between the two works pertain only to
  unprotected elements.” Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1131 (C.D. Cal. 2007).
  Here, Plaintiff’s alleged similarities between the Works and Defendants’ Bull Episode and
  proposed Clueless series are insufficient as a matter of law.

          Bull Episode: The alleged similarities between the Bull episode and the Works are legally
  meaningless over-generalizations, and misleading and inaccurate comparisons. And, even if the
  claimed similarities were entirely accurate, they would be legally insufficient to support an
  infringement claim, in any event. For example, Plaintiff alleges that the Works and the Bull
  episode are substantially similar because they both supposedly center on an African-American
  female social media influencer with a history of mental illness, who is being manipulated and
  controlled by someone close to her, in order to use her as bait to secure a lucrative business deal.
  In fact, Plaintiffs protagonist is a social media influencer who appears to have an interest in
  fashion, while the protagonist in the Bull episode is a young entrepreneur with a successful
  make-up line that she, like every other modern business owner, happens to promote/advertise on
  social media.

          While the protagonist in the Works appears to have experienced anxiety in her past, the
  protagonist in the Bull episode currently suffers from an extreme form of bipolar disorder. It is
  not clear from the Works that the protagonist’s manager, Evvy, is either manipulating or
  controlling the protagonist, much less that she is using the protagonist as “bait” in order to secure
  a lucrative business deal. By contrast, the father of the protagonist in the Bull episode is the
  protagonist’s legal guardian as a consequence of a particularly acute manic episode that resulted
  in the protagonist’s involuntary commitment; and he is attempting to sell his daughter’s business
  to ensure her financial security.

          Proposed Clueless Series: In order to assert a claim with respect to the proposed Clueless
  series. Plaintiff describes the Works in a manner that is completely different from how she
  described them for purposes of her claim respecting the Bull episode. Plaintiff alleges that the



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  February 10, 2020                                          Katten Muchin Rosenman llp

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  Works are substantially similar because they both center on the disappearance of a “queen bee”
  who is later replaced by her African-American best friend/sidekick.

          Even if this turned out to be an accurate comparison of the Works and any completed
  Clueless series, these alleged similarities are utterly generic and not protected by copyright law
  as a matter of well-established legal principles. To the contrary, a plotline centered on the
  disappearance of one female character from a group of female characters is utterly banal and has
  been the subject of numerous films and televisions shows. All of the other similarities alleged by
  Plaintiff in her Complaint constitute unprotectable scenes a faire that flow naturally from these
  basic story lines. See Rice v. Fox Broad. Co., 330 F.3d 1170, 1175 (9th Cir. 2003).

  Ripeness

         As alleged in the Complaint, Plaintiff believes that Defendant is currently developing a
  Clueless series. Plaintiff speculates that this proposed series will be substantially similar to the
  Works based upon a comparison between certain statements made in a press release for the
  proposed new series and Plaintiffs description of her proposed television series in the
  Treatment.

         Plaintiffs allegations demonstrate that any purported claim of infringement of the Works
  by the proposed Clueless series simply is too uncertain and premature at this point in time. Any
  decision the court might render (assuming it could render any decision on this issue) would rest
  on future events that may not occur at all, and would therefore take the form of an impermissible
  advisory opinion. Kelly v. Univ. Press of Mississippi, No. CV 16-2960 PA (GJSX), 2016 WE
  4445986, at *4 (C.D. Cal. Aug. 16, 2016).

  Copyright Preemption

          Finally, the Copyright Act preempts a claim for violation of California Business and
  Professions Code sections 17200, et seq. because this claim does not satisfy the “extra element”
  test. See Maloney v. T3Media, Inc., 853 F.3d 1004, 1007 (9th Cir. 2017).

          As required by Local Rule 7-3, please let us know if you are available on Wednesday,
  February 12 (4PM-6PM), Thursday, February 13 (9AM-11AM) or Friday, February 14 (9AM-
  12PM) to meet and confer with us, by telephone or in person, during which we can discuss these
  issues thoroughly.

  Sincerely




  JdaJhna M. Hill


  cc: David Halberstadter, Esq.; Shelby Palmer, Esq.



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                        EXHIBIT 2
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Safeguarding Intellectual
Property
For many businesses, intellectual property is their most valuable asset.
Patents, trademarks, copyrights and trade secrets are all vital to the
success of an innovation-driven economy. The law provides strong
protections for intellectual property, and it imposes strict measures to
prevent unfair competition.


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Guidance
At the Los Angeles-based law firm of Kenneth I. Gross & Associates, we
help businesses protect their investments in intellectual property. Our
attorneys, who have more than 50 years of combined experience, provide
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secure protection for your intellectual property — or to prosecute or defend
against allegations of infringement in court — experienced legal counsel is
critical.


How We Help
As skilled litigators, our lawyers offer savvy business representation for
defendants and plaintiffs in intellectual property litigation, including
disputes regarding:

           Trademark, copyright or patent infringement
           Theft or misappropriation of trade secrets
           Counterfeit products
           Unfair competition

We understand the magnitude of the impact these cases can have on your
business. As a small firm, our attorneys provide a significant economic
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Trademark Registrations
In addition to intellectual property litigation, we also handle trademark
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we take care of the actual registration, ensuring that the paperwork is
properly filed to secure solid legal protection.


     Our firm represents domestic and international companies in
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     and Taiwanese. 我們會講中文




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Initial consultations are free of charge. Contact us at 213-784-4232 or toll-
free at 866-634-2816, or send us an email. Our headquarters are in
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                        EXHIBIT 3
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                                  #:750

  From:             Candy Washington
  To:               Hill, Joanna M.
  Cc:               Halberstadter, David; Palmer, Shelby A.
  Subject:          Re: Washington v. ViacomCBS - Motion for Attorneys" Fees
  Date:             Friday, June 11, 2021 9:57:40 AM


  EXTERNAL EMAIL – EXERCISE CAUTION
  Hi Joanna,

  Yes, I can be available at 1:30pm.

  Best,
  Candy


  On Fri, Jun 11, 2021 at 8:26 AM Hill, Joanna M. <joanna.hill@katten.com> wrote:

    Ms. Washington,



    Are you available today at any time between 10AM-2PM? If so, I can send you a zoom invite.



    Joanna M. Hill (she | her | hers)
    Associate

    Katten
    Katten Muchin Rosenman LLP
    2029 Century Park East, Suite 2600 | Los Angeles, CA 90067-3012
    direct +1.310.788.4474 fax +1.310.788.4471
    joanna.hill@katten.com | katten.com




    From: Candy Washington <candywashington@gmail.com>
    Sent: Friday, June 11, 2021 7:06 AM
    To: Hill, Joanna M. <joanna.hill@katten.com>
    Cc: Halberstadter, David <david.halberstadter@katten.com>; Palmer, Shelby A.
    <shelby.palmer@katten.com>
    Subject: Re: Washington v. ViacomCBS - Motion for Attorneys' Fees



    EXTERNAL EMAIL – EXERCISE CAUTION

    Good morning Joanna,




                                                              1
Case 2:20-cv-00435-CBM-PJW Document 58-1 Filed 06/17/21 Page 19 of 105 Page ID
                                  #:751

    I hope you're well. I understand that it is your opinion that my lawsuit was meritless, I'm just
    unsure if that would be the public's opinion.



    Per our email chain, I never declined a phone conversation, particularly because I've never
    had any communication with your legal team outside of email, and I do not consent to your
    email below to be used as a substitute for the required consultation per Local Rule 7-3.



    The representative from the California Lawyers of Arts also confirmed that you declined to
    meet/mediate on June 10th, 2021, as well as declined the compromise that was presented,
    therefore, I will be moving forward with my available options regarding this case.



    If you're open to scheduling a Zoom meeting, please let me know, as I believe that this
    situation would have been resolved and deescalated if we'd had an opportunity to meet
    (virtually).



    Best,

    Candy




    On Thu, Jun 10, 2021 at 9:39 AM Hill, Joanna M. <joanna.hill@katten.com> wrote:

      Ms. Washington,



      Since you declined our request to schedule a call to discuss the substance of our motion for
      attorneys’ fees within the time permitted by Local Rule 7-3, we are communicating with you via
      email to explain the basis of the motion.



      You filed a meritless claim alleging that ViacomCBS Inc. (“Defendant”) infringed on your
      copyrighted works in connection with the airing of an episode of the television series Bull and
      the development of a yet unreleased series based on the 1995 film Clueless. Prior to filing our
      first motion to dismiss, we advised your previous attorney that there was no basis to allege that
      Defendant or anyone associated with the development of the Bull episode or the Clueless
      reboot had access to your works. We also advised your attorney that a comparison of the
      works in question, and a basic understanding of Ninth Circuit copyright law, would make clear
      that there was no substantial similarity between your works and Defendant’s works. You chose

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      to move forward with your claims, and the court dismissed your complaint (for the first time) on
      August 20, 2020. After your attorney withdrew from the case, you continued to pursue these
      baseless claims, and your amended complaint was dismissed again on May 21, 2021.



      In both dismissals, the court made clear that your allegations of access were insufficient and
      utterly speculative. (ECF No. 54 at *4). With respect to substantial similarity, the court made
      the following findings (all of which were previously pointed out by us prior to the filing of the
      first motion to dismiss): (1) there was no copying of any “unique” selection of unprotectable
      elements, rather you identified a random list of similarities scattered throughout the works; (2)
      any similarities between the protagonists in each work with respect to name, occupation or
      background was vastly outweighed by the “significant differences” between the works including
      differing central plots and secondary characters; and (3) many of the other purported
      similarities were “common tropes” for the genre in question. (ECF No. 25 at *7-9; ECF No. 54 at
      *5).



      As the prevailing party, Defendant is entitled to recover its attorneys’ fees and costs pursuant to
      the Copyright Act because you asserted objectively unreasonable, if not totally frivolous, claims
      that were dismissed twice. There was no factual support for your allegations that Defendant
      had access to your works. And the issue of whether your works were substantially similar to the
      Bull episode or the Clueless reboot was not a close question of fact – it was readily apparent.
      These two points were made clear to you by us well before the court dismissed your claims.
      Finally, you have made it evident that your motive in pursuing these claims is to leverage a
      settlement as you have communicated your intention to (i) gather other writers together to file
      a class action lawsuit against Defendant, and (ii) speak with the media about “'CBS being
      exposed for plagiarizing a Black female writer’s story.” Both threats evidence an improper
      motive and also further demonstrate that an award of fees is necessary to deter behavior like
      this.



      Defendant is seeking an award of $241,317.84 in attorneys’ fees and costs. These fees are
      reasonable given that Defendant was forced to litigate these claims for almost 18 months,
      which necessarily required the preparation of two separate motions to dismiss.



      Joanna M. Hill (she | her | hers)
      Associate

      Katten
      Katten Muchin Rosenman LLP
      2029 Century Park East, Suite 2600 | Los Angeles, CA 90067-3012
      direct +1.310.788.4474 fax +1.310.788.4471
      joanna.hill@katten.com | katten.com



                                                    3
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                                  #:753




      From: Candy Washington <candywashington@gmail.com>
      Sent: Thursday, June 10, 2021 6:10 AM
      To: Hill, Joanna M. <joanna.hill@katten.com>
      Cc: Halberstadter, David <david.halberstadter@katten.com>; Palmer, Shelby A.
      <shelby.palmer@katten.com>
      Subject: Re: Washington v. ViacomCBS - Motion for Attorneys' Fees



      EXTERNAL EMAIL – EXERCISE CAUTION

      Good morning Joanna,

      I hope you're well. You previously confirmed that I could have my new lawyer present
      during the discussion once I had one in place. The onus was not on me to ensure that it
      fell within your time constraints as that wasn't communicated to me prior to you agreeing
      to those terms.

      I've been working closely with the California Lawyers for the Arts to secure a new
      lawyer, and to that end, we reached out on Monday, June 7th for a meeting, and you
      declined. We followed up and we didn't hear back from you until yesterday afternoon,
      which was less than 24 hours from your June 10th deadline.

      The representative from California Lawyers for the Arts will be reaching out to follow up
      to remedy this situation as quickly as possible, as I'll be unreachable for the remainder of
      the day due to prior commitments.


      Best,
      Candy



      On Wed, Jun 9, 2021 at 1:20 PM Hill, Joanna M. <joanna.hill@katten.com> wrote:

        Hi Ms. Washington,



        Thank you for your prompt response to my emails yesterday. Our deadline to file our motion
        for attorneys’ fees is June 17, and therefore our deadline to meet and confer with you prior
        to filing our motion (7 days in advance) is tomorrow, June 10. While we completely
        understand your desire to involve your new attorney in our discussions, at the present time,
        you are representing yourself in this lawsuit, and no attorney has entered an appearance on
        your behalf. If your new attorney is available to join this call today or tomorrow, we are
        happy to include him/her; but we will not be able to wait for that to happen if that ends up
        requiring us to delay our meeting past this Thursday. Therefore, if we are unable to hold our

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                                  #:754

       meeting with you today or tomorrow, we will be forced to inform the court why this wasn’t
       possible when we file our motion.



       Thank you.



       Joanna M. Hill (she | her | hers)
       Associate

       Katten
       Katten Muchin Rosenman LLP
       2029 Century Park East, Suite 2600 | Los Angeles, CA 90067-3012
       direct +1.310.788.4474 fax +1.310.788.4471
       joanna.hill@katten.com | katten.com




       From: Candy Washington <candywashington@gmail.com>
       Sent: Tuesday, June 8, 2021 6:34 PM
       To: Hill, Joanna M. <joanna.hill@katten.com>
       Cc: Halberstadter, David <david.halberstadter@katten.com>; Palmer, Shelby A.
       <shelby.palmer@katten.com>
       Subject: Re: Washington v. ViacomCBS - Motion for Attorneys' Fees



       EXTERNAL EMAIL – EXERCISE CAUTION

       You're welcome. Please stay safe and have a good night.



       Best,

       Candy



       On Tue, Jun 8, 2021 at 5:22 PM Hill, Joanna M. <joanna.hill@katten.com> wrote:

         Understood. Thank you.



         Joanna M. Hill (she | her | hers)
         Associate




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         Katten Muchin Rosenman LLP
         2029 Century Park East, Suite 2600 | Los Angeles, CA 90067-3012
         direct +1.310.788.4474 fax +1.310.788.4471
         joanna.hill@katten.com | katten.com




         From: Candy Washington <candywashington@gmail.com>
         Sent: Tuesday, June 8, 2021 5:21 PM
         To: Hill, Joanna M. <joanna.hill@katten.com>
         Cc: Halberstadter, David <david.halberstadter@katten.com>; Palmer, Shelby A.
         <shelby.palmer@katten.com>
         Subject: Re: Washington v. ViacomCBS - Motion for Attorneys' Fees



         EXTERNAL EMAIL – EXERCISE CAUTION

         Hi Joanna,



         Understood. However, I will need to confer with my new legal representation as I
         want them to be present for the call. I'll provide you with a few dates and times once
         that is confirmed.



         Best,

         Candy



         On Tue, Jun 8, 2021 at 5:17 PM Hill, Joanna M. <joanna.hill@katten.com> wrote:

           Hi Ms. Washington,



           Thank you for the update. Unfortunately, the appeal does not impact our ability to seek
           attorneys’ fees and costs and so we are still obligated to meet and confer about the
           substance of our motion. Can you send me some times that work for you either
           tomorrow or Thursday?



           Thank you.



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                                  #:756



           Joanna M. Hill (she | her | hers)
           Associate

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           direct +1.310.788.4474 fax +1.310.788.4471
           joanna.hill@katten.com | katten.com




           From: Candy Washington <candywashington@gmail.com>
           Sent: Tuesday, June 8, 2021 5:12 PM
           To: Hill, Joanna M. <joanna.hill@katten.com>
           Cc: Halberstadter, David <david.halberstadter@katten.com>; Palmer, Shelby A.
           <shelby.palmer@katten.com>
           Subject: Re: Washington v. ViacomCBS - Motion for Attorneys' Fees



           EXTERNAL EMAIL – EXERCISE CAUTION

           Hi Joanna,



           Thank you for your email. I'm appealing the judge's decision, so I'm unsure if now
           is the appropriate time for this Zoom call. Please let me know.



           Best,

           Candy




           On Tue, Jun 8, 2021 at 5:04 PM Hill, Joanna M. <joanna.hill@katten.com> wrote:

             Ms. Washington,



             Pursuant to Local Rule 7-3, we write to inform you of ViacomCBS’s intent to
             file a motion for attorneys’ fees and costs as permitted by the Copyright Act, 17
             U.S. Code § 505. We would like to schedule a short call tomorrow or Thursday
             to discuss the basis of our motion. Please let us know when you are available,

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                  and we can send you a Zoom invite.



                  Thank you.




                  Joanna M. Hill (she | her | hers)
                  Associate

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                  Katten Muchin Rosenman LLP
                  2029 Century Park East, Suite 2600 | Los Angeles, CA 90067-3012
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                  joanna.hill@katten.com | katten.com




                  ===========================================================
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                  NOTIFICATION: Katten Muchin Rosenman LLP is an Illinois limited
                  liability partnership that has
                  elected to be governed by the Illinois Uniform Partnership Act
                  (1997).
                  ===========================================================




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  ................................
  Candy Washington | Content Creator



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  646.264.8729 | candywashington@gmail.com
  candywashington.com | @candywashington




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                        EXHIBIT 4

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                                        PROFESSIONAL SERVICES
                                      Matter 00020: ViacomCBS adv. Washington

 Date          Attorney or Assistant    Description                                                     Hours
                                        analyze email from C. Benedetti regarding
                                                                             ; emails from and to
                                        J. Hill and S. Palmer regarding communication from
                                        U.S. Copyright Office in regard to ordering of deposit
                                        copy of plaintiff's work
 30 Jan 20     Hill, Joanna M.          Review and analyze Bull episode; strategize with D.               1.80
                                        Halberstadter and S. Palmer re possible similarities
                                        between plaintiff's works and Bull and plaintiff's works
                                        and Clueless reboot; correspond with client re
                                                                         ; revise corporate
                                        disclosure statement
 30 Jan 20     Palmer, Shelby           Draft Notice of Interested Parties                                0.50
 31 Jan 20     Halberstadter, David     Review and respond to emails from M. van Oppen                    0.80
                                        regarding cases addressing ripeness, initial pleading
                                        strategy regarding "Bull" infringement claim; review
                                        and revise draft email to client regarding contents of
                                        corporate disclosure statement in light of recent CBS -
                                        Viacom merger
 31 Jan 20     Hill, Joanna M.          Correspond with opposing counsel re corporate                     0.60
                                        disclosure statement; strategize with D. Halberstadter
                                        re corporate disclosure statement; review client
                                        questions re ripeness
 31 Jan 20     Palmer, Shelby           Phone call with Copyright Office re Deposit Copy of               2.70
                                        #SquadGoals; begin drafting memorandum of possible
                                        similarities between Bull and #SquadGoals; research
                                        posture of cases re ripeness of copyright infringement
                                        claim
                                                                                         TOTALS:         44.10


                                 SUMMARY OF PROFESSIONAL SERVICES
                                      Matter 00020: ViacomCBS adv. Washington

             Attorney or Assistant                                     Hours        Rate              Amount

 32982       Halberstadter, David                                       19.20   1,000.00            $19,200.00
 43405       Hill, Joanna M.                                            16.40     745.00            $12,218.00
 44599       Palmer, Shelby                                              8.50     490.00             $4,165.00
                                                       TOTAL:           44.10                       $35,583.00




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                                        DISBURSEMENTS
                                Matter 00020: ViacomCBS adv. Washington

 Date        Description                                                              Amount
 24 Jan 20   Postage for USPS EXPM Mail Distribution Qty (1) envelope, Date sent:       25.50
             01/23/20
 31 Jan 20   Westlaw Legal Research: PALMER,SHELBY on 01/27/2020                         N/C
 31 Jan 20   Westlaw Legal Research: PALMER,SHELBY on 01/29/2020                         N/C
 31 Jan 20   Westlaw Legal Research: PALMER,SHELBY on 01/28/2020                         N/C
                                                                       TOTAL:          $25.50


                                SUMMARY OF DISBURSEMENTS
                                Matter 00020: ViacomCBS adv. Washington
 Postage                                                                               $25.50
 Legal Research                                                                          N/C
                                                                          TOTAL:       $25.50


                                                               MATTER TOTAL:        $35,608.50




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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                 Hours
 03 Feb 20 Halberstadter, David     Emails to and from plaintiff's counsel regarding             2.80
                                    extending ViacomCBS's initial pleading deadline;
                                    prepare for and participate in conference call with
                                    clients regarding initial pleading strategy; review email
                                    from C. Benedetti regarding proper corporate
                                    disclosures; review memo from S. Palmer regarding
                                    copyright ripeness cases; review and revise extension
                                    stipulation; miscellaneous attention to updated video
                                    files (Bull episode)
 03 Feb 20 Hill, Joanna M.          Review ripeness cases; prepare for and attend client         1.10
                                    call re case strategy
 03 Feb 20 Palmer, Shelby           Take final steps to obtain deposit copy of Plaintiff's       4.40
                                    work; find and summarize the posture of relevant cases
                                    re copyright claim ripeness; strategy meeting and call
                                    with client; finalize Notice of Interested Parties and
                                    Stipulation to Extend Time; analyze similarities
                                    between Plaintiff's and client's works and assess their
                                    strength
 04 Feb 20 Halberstadter, David     Emails from and to K. Gross regarding stipulation to         0.20
                                    extend pleading deadline
 04 Feb 20 Palmer, Shelby           File Notice of Interested Parties and Stipulation to         2.20
                                    Extend Time; continue summarizing similarities
                                    between Plaintiff's and client's works.
 05 Feb 20 Halberstadter, David     Review and revise draft meet and confer letter; emails       1.10
                                    to and from J. Hill regarding same; review email from
                                    C. Benedetti and proposed revisions to meet and confer
                                    letter; emails to and from C. Benedetti regarding

 05 Feb 20 Hill, Joanna M.          Draft and revise meet and confer letter re motion to         1.40
                                    dismiss; strategize with D. Halberstadter re same;
                                    correspond with client re same
 06 Feb 20 Halberstadter, David     Make further revisions to lengthier draft meet and           3.40
                                    confer letter; review and make proposed client
                                    revisions; additional fact investigation and research in
                                    anticipation of motions to dismiss.
 06 Feb 20 Hill, Joanna M.          Review revisions to meet and confer letter; strategize       0.30
                                    with D. Halberstadter re same
 06 Feb 20 Palmer, Shelby           Complete draft of copyright infringement/similarity          3.10
                                    analysis
 07 Feb 20 Halberstadter, David     Additional analysis in connection with anticipated           1.80
                                    pleading challenges to Complaint.
 10 Feb 20 Halberstadter, David     Strategize with J. Hill regarding                            0.40
                                                             scheduling of motion hearing;
                                    final review and revision of meet and confer letter
 10 Feb 20 Hill, Joanna M.          Revise and finalize meet and confer letter; strategize       0.50
                                    with D. Halberstadter and S. Palmer re research of
                                    Judge Marshall's prior copyright decisions
 10 Feb 20 Palmer, Shelby           Research and summarize relevant decisions by Judge           1.50
                                    Marshall

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                                  #:772


                           SUMMARY OF PROFESSIONAL SERVICES
                                 Matter 00020: ViacomCBS adv. Washington

         Attorney or Assistant                                    Hours       Rate       Amount

 32982   Halberstadter, David                                     39.80    1,000.00    $39,800.00
 43405   Hill, Joanna M.                                          41.50      745.00    $30,917.50
 44599   Palmer, Shelby                                           61.70      490.00    $30,233.00
                                                  TOTAL:         143.00               $100,950.50




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                                        DISBURSEMENTS
                                Matter 00020: ViacomCBS adv. Washington

 Date        Description                                                              Amount
 13 Feb 20   VENDOR: Pacer Service Center; INVOICE#: KM3280-JAN20-LAX;                  9.00
             DATE: 2/13/2020 - Acct #KM3280: Pacer court cost incurred in
             January 2020, Century City.
 13 Feb 20   VENDOR: Pacer Service Center; INVOICE#: KM3280-JAN20-LAX;                    1.00
             DATE: 2/13/2020 - Acct #KM3280: Pacer court cost incurred in
             January 2020, Century City.
 13 Feb 20   VENDOR: Pacer Service Center; INVOICE#: KM3280-JAN20-LAX;                   24.60
             DATE: 2/13/2020 - Acct #KM3280: Pacer court cost incurred in
             January 2020, Century City.
 20 Feb 20   VENDOR: Palmer, Shelby INVOICE#: 4016875002201746 DATE:                   281.00
             2/20/2020 Court Application/Admissions205089 for Central District -
             Superior Court Date Incurred: 01/30/20
 20 Feb 20   VENDOR: Palmer, Shelby INVOICE#: 4016677602201746 DATE:                   637.50
             2/20/2020 Reimbursement re Copyright Application Date Incurred:
             02/03/20
 28 Feb 20   Westlaw Legal Research: TAYLOR,SUSAN E on 02/13/2020                        N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/21/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/25/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/26/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/27/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/25/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/26/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/03/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/12/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/11/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/06/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/27/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/21/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/24/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/13/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/18/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/19/2020                         N/C
 28 Feb 20   Westlaw Legal Research: PALMER,SHELBY on 02/11/2020                         N/C
                                                                       TOTAL:         $953.10


                                SUMMARY OF DISBURSEMENTS
                                Matter 00020: ViacomCBS adv. Washington
 Legal Research                                                                          N/C
 Court Costs                                                                           $34.60
 Palmer, Shelby                                                                       $918.50
                                                                          TOTAL:      $953.10


                                                               MATTER TOTAL:       $101,903.60




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                                  #:779



                                          DISBURSEMENTS
                                  Matter 00020: ViacomCBS adv. Washington

 Date          Description                                                             Amount
 13 Mar 20     VENDOR: Federal Express Corporation INVOICE#: 694984570                   36.53
               DATE: 3/6/2020
               From: JORGE RIVERA To: JOANNA HILL KATTEN MUCHIN
               ROSENMAN 2029 CENTURY PK E STE 260,LOS ANGELES
               CA,90067 US: On: 2/27/2020; Tracking ID: 814850671313
 13 Mar 20     Photocopies for 03/13/2020                                                  0.60
 13 Mar 20     VENDOR: Pacer Service Center; INVOICE#: KM3280-FEB20-LAX;                  21.90
               DATE: 3/11/2020 - Acct #KM3280: Pacer court cost incurred in
               February 2020, Century City.
 13 Mar 20     VENDOR: Pacer Service Center; INVOICE#: KM3280-FEB20-LAX;                   2.70
               DATE: 3/11/2020 - Acct #KM3280: Pacer court cost incurred in
               February 2020, Century City.
 13 Mar 20     VENDOR: Pacer Service Center; INVOICE#: KM3280-FEB20-LAX;                   1.20
               DATE: 3/11/2020 - Acct #KM3280: Pacer court cost incurred in
               February 2020, Century City.
 13 Mar 20     VENDOR: Pacer Service Center; INVOICE#: KM3280-FEB20-LAX;                  10.00
               DATE: 3/11/2020 - Acct #KM3280: Pacer court cost incurred in
               February 2020, Century City.
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/03/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/03/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/04/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/04/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/05/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/06/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/09/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/10/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/10/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/12/2020                         N/C
 31 Mar   20   Westlaw Legal Research: PALMER,SHELBY on 03/13/2020                         N/C
 31 Mar   20   PAYEE: LAC Group; REQUEST#: 846185; DATE: 3/31/2020. -                      N/C
               Legal Research from February 1,2020 thru February 28,2020; Research
               re Judge Marshall on 2/12/20

                                                                            TOTAL:      $72.93


                                 SUMMARY OF DISBURSEMENTS
                                  Matter 00020: ViacomCBS adv. Washington
 Courier                                                                                $36.53
 Photocopy Costs                                                                         $0.60
 Legal Research                                                                           N/C
 Legal Research                                                                           N/C
 Court Costs                                                                            $35.80
                                                                            TOTAL:      $72.93


                                                                 MATTER TOTAL:       $35,979.93




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                                          PROFESSIONAL SERVICES
                                        Matter 00020: ViacomCBS adv. Washington

 Date            Attorney or Assistant    Description                                                 Hours
                                          with J. Hill regarding same (0.3); review further
                                          revised reply brief (0.6)
 24 Apr 20 Hill, Joanna M.                Revise brief to incorporate client comments and               1.40
                                          changes and strategize with D. Halberstadter re same
 24 Apr   20     Palmer, Shelby           Cite parentheticals                                           0.60
 27 Apr   20     Halberstadter, David     Final review and revisions to reply brief.                    0.80
 27 Apr   20     Hill, Joanna M.          Revise and finalize reply brief                               0.70
 28 Apr   20     Hill, Joanna M.          Revise and finalize reply brief                               0.40
 30 Apr   20     Halberstadter, David     Review court docket for existence of scheduling               0.20
                                          conference order (0.1); emails to and from J. Hill
                                          regarding same (0.1)
                                                                                        TOTALS:        46.20


                                 SUMMARY OF PROFESSIONAL SERVICES
                                        Matter 00020: ViacomCBS adv. Washington

               Attorney or Assistant                                     Hours       Rate           Amount

 32982         Halberstadter, David                                       21.10   1,000.00        $21,100.00
 43405         Hill, Joanna M.                                            14.10     745.00        $10,504.50
 44599         Palmer, Shelby                                             11.00     490.00         $5,390.00
                                                         TOTAL:           46.20                   $36,994.50




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                                     DISBURSEMENTS
                             Matter 00020: ViacomCBS adv. Washington

 Date        Description                                                        Amount
 30 Jun 20   Westlaw Legal Research: HALBERSTADTER,DAVID on 06/23/2020             N/C
                                                               TOTAL:             $0.00


                             SUMMARY OF DISBURSEMENTS
                             Matter 00020: ViacomCBS adv. Washington
 Legal Research                                                                    N/C
                                                                       TOTAL:     $0.00




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                                                                                                                                            2029 Century Park East
                                                                                      Direct Billing Inquiries to:                                       Suite 2600
                                                                                      Charles Estrada
                                                                                                                                        Los Angeles, CA 90067-3012
                                                                                      310-788-4434
                                                                                      charles.estrada@katten.com



                                                                           August 21, 2020

    CBS Corporation                                                                                                                 Invoice No. 1301639776
    Attn: Carl Benedetti                                                                                                                  Client No. 205089
    Assistant General Counsel, Litigation                                                                                                  Matter No. 00020
    4024 Radford Avenue
    Studio City, CA 91604
                                                                                                                                                  FEIN: XX-XXXXXXX


 Re: ViacomCBS adv. Washington (205089.00020)
     Docket/Claim Number: 116800
 For legal services rendered through July 31, 2020....................................................................                                $1,913.50
 Less 15% Fee Discount ...................................................................................................................             (287.02)
                                                                                                             Sub-Total Fees:                           $1,626.48




                                                                                    CURRENT INVOICE TOTAL:                                            $1,626.48




                                                                                                                                                             35
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                                        PROFESSIONAL SERVICES
                                      Matter 00020: ViacomCBS adv. Washington

 Date          Attorney or Assistant    Description                                              Hours
 31 Jul 20     Halberstadter, David     Emails to and from C. Benedetti regarding budgeting       0.10
                                        issues
 31 Jul 20     Halberstadter, David     Emails to and from J. Hill regarding same                  0.10
 31 Jul 20     Hill, Joanna M.          Draft budgets for 2020 and 2021                            2.30
                                                                                   TOTALS:         2.50


                               SUMMARY OF PROFESSIONAL SERVICES
                                      Matter 00020: ViacomCBS adv. Washington

             Attorney or Assistant                                     Hours       Rate        Amount

 32982       Halberstadter, David                                        0.20   1,000.00        $200.00
 43405       Hill, Joanna M.                                             2.30     745.00      $1,713.50
                                                       TOTAL:            2.50                 $1,913.50




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                                                                                                   2029 Century Park East
                                                                                                                Suite 2600
                                                                                               Los Angeles, CA 90067-3012

                                                   REMITTANCE
             Please include this remittance advice with your payment to ensure proper account crediting

 Attorney:        32982 - David Halberstadter                                     Invoice No.:            1301639776
 Client:          205089 - CBS Corporation                                        Invoice Date:             21 Aug 20
 Matter:          00020 - ViacomCBS adv. Washington

                                                                Current Invoice Charges:                    $1,626.48


 PREVIOUS BALANCE DUE:
 Invoice Date Invoice No.              Matter                  Invoice Total     Current Balance

 20 Jul 20           1301633531        00020                  12,089.13    12,089.13
                                                       TOTAL OUTSTANDING BALANCE :                           $12,089.13


                                                                   TOTAL BALANCE DUE:                       $13,715.61


                                                   Wire Instructions:
                                                 Reference: 205089.00020


                                                       US Bank NA
                                               209 S. LaSalle Street, Ste. 200
                                                     Chicago, Il 60604
                                                    ABA # 071904779
                                                Swift Code: USBKUS44imt

                                     For Credit To: Katten Muchin Rosenman LLP
                                                  Operating Account
                                               Account # 199355795089

               When wiring a payment please fax a copy of the Remittance to Rebecca Flint at 310-712-8457

      Please direct any billing inquiries to Charles Estrada at 310-788-4434 or e-mail charles.estrada@katten.com




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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                   Hours
 03 Aug 20 Halberstadter, David     Review and revise draft 2020 and 2021 budget (0.3);            0.70
                                    emails to and from J. Hill regarding same(0.2); review
                                    revised budgets (0.1); emails to and from C. Benedetti
                                    regarding same (0.1).
 03 Aug 20 Hill, Joanna M.          Revise budgets for 2020 and 2021                                1.30
 18 Aug 20 Halberstadter, David     Review email from S. Palmer and linked articles                 0.30
                                    regarding                                         (0.2);
                                    email to clients regarding same (0.1)
 20 Aug 20 Halberstadter, David     Review and analyze district court order granting                0.80
                                    motion to dismiss (0.4); emails to and from and
                                    Telephone call to J. Hill regarding same (0.2); draft
                                    email to clients regarding same (0.2)
 26 Aug 20 Halberstadter, David     Telephone call to Plaintiff's counsel regarding time for        0.50
                                    filing amended complaint and for Defendant's response
                                    to same(0.2); email update to clients (0.1); emails from
                                    and to C. Benedetti regarding anticipated amendment
                                    (0.1); emails from and to Plaintiff's counsel regarding
                                    preparation of stipulation regarding pleading deadlines
                                    (0.1).
                                                                                   TOTALS:          3.60


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate             Amount

 32982    Halberstadter, David                                       2.30   1,000.00           $2,300.00
 43405    Hill, Joanna M.                                            1.30     745.00             $968.50
                                                   TOTAL:            3.60                      $3,268.50




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                                  #:802



                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                     Hours
 03 Sep 20 Halberstadter, David     Review draft stipulation regarding deadline for filing           0.40
                                    amended complaint and response deadline (01); emails
                                    to and from plaintiff's counsel regarding same (0.1);
                                    review filed stipulation (0.1); email to clients regarding
                                    same (0.1)
 14 Sep 20 Halberstadter, David     Evaluate efficacy of                                              0.40

 15 Sep 20 Halberstadter, David     Review court's rejection of counsel's withdrawal                  0.50
                                    application; review court filings by plaintiff; update
                                    clients regarding same
 17 Sep 20 Halberstadter, David     Review court order denying motion for leave to amend              0.20
                                    complaint as moot in light of previous court order
                                    (0.1); emails to and from clients regarding same (0.1)
 22 Sep 20 Halberstadter, David     Emails from and to N. Waltman regarding status of                 0.40
                                    filing of FAC (0.1); emails to and from S. Palmer
                                    regarding same (0.2); emails from and to C. Benedetti
                                    regarding same (0.1)
 23 Sep 20 Halberstadter, David     Review court order denying request for substitution of            0.20
                                    counsel (0.1); emails to and from C. Benedetti and M.
                                    van Oppen regarding same (0.1)
 25 Sep 20 Halberstadter, David     Check court docket for filing of FAC or other                     0.20
                                    documents
                                                                                    TOTALS:           2.30


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours         Rate             Amount

 32982    Halberstadter, David                                       2.30    1,000.00            $2,300.00
                                                   TOTAL:            2.30                        $2,300.00




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                                                                                                                                            2029 Century Park East
                                                                                      Direct Billing Inquiries to:                                       Suite 2600
                                                                                      Charles Estrada
                                                                                                                                        Los Angeles, CA 90067-3012
                                                                                      310-788-4434
                                                                                      charles.estrada@katten.com



                                                                        November 18, 2020

    CBS Corporation                                                                                                                 Invoice No. 1301656282
    Attn: Carl Benedetti                                                                                                                  Client No. 205089
    Assistant General Counsel, Litigation                                                                                                  Matter No. 00020
    4024 Radford Avenue
    Studio City, CA 91604
                                                                                                                                                  FEIN: XX-XXXXXXX


 Re: ViacomCBS adv. Washington (205089.00020)
     Docket/Claim Number: 116800
 For legal services rendered through October 31, 2020.............................................................                                    $1,300.00
 Less 15% Fee Discount ...................................................................................................................             (195.00)
                                                                                                             Sub-Total Fees:                           $1,105.00




                                                                                    CURRENT INVOICE TOTAL:                                            $1,105.00




                                                                                                                                                             47
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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                   Hours
 08 Oct 20 Halberstadter, David     Review court docket to ensure no recent filings (0.1);         0.70
                                    draft proposed notice to court regarding non-filing of
                                    First Amended Complaint (0.5); email to clients
                                    regarding same (0.1)
 16 Oct 20 Halberstadter, David     Plan and prepare for filing of Notice of Plaintiff's            0.40
                                    Failure to File First Amended Complaint (0.2);
                                    miscellaneous emails to and from C. Olsen, S. Palmer,
                                    regarding same (0.2)
 21 Oct 20 Halberstadter, David     Emails to and from clients regarding filing of Notice of        0.20
                                    Plaintiff's Failure to File First Amended Complaint
                                                                                   TOTALS:          1.30


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate             Amount

 32982    Halberstadter, David                                       1.30   1,000.00           $1,300.00
                                                   TOTAL:            1.30                      $1,300.00




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                                  #:807




                                                                                                 2029 Century Park East
                                                                                                              Suite 2600
                                                                                             Los Angeles, CA 90067-3012

                                               REMITTANCE
         Please include this remittance advice with your payment to ensure proper account crediting

 Attorney:      32982 - David Halberstadter                                     Invoice No.:            1301656282
 Client:        205089 - CBS Corporation                                        Invoice Date:             18 Nov 20
 Matter:        00020 - ViacomCBS adv. Washington

                                                              Current Invoice Charges:                    $1,105.00


 PREVIOUS BALANCE DUE:
 Invoice Date Invoice No.            Matter                  Invoice Total     Current Balance

 26 Sep 20         1301646149        00020                   2,778.23     2,778.23
 29 Oct 20         1301652333        00020                   1,955.00     1,955.00
                                                     TOTAL OUTSTANDING BALANCE :                            $4,733.23


                                                                 TOTAL BALANCE DUE:                        $5,838.23


                                                 Wire Instructions:
                                               Reference: 205089.00020


                                                     US Bank NA
                                             209 S. LaSalle Street, Ste. 200
                                                   Chicago, Il 60604
                                                  ABA # 071904779
                                              Swift Code: USBKUS44imt

                                   For Credit To: Katten Muchin Rosenman LLP
                                                Operating Account
                                             Account # 199355795089

             When wiring a payment please fax a copy of the Remittance to Rebecca Flint at 310-712-8457

     Please direct any billing inquiries to Charles Estrada at 310-788-4434 or e-mail charles.estrada@katten.com




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                                                                                                                                            2029 Century Park East
                                                                                      Direct Billing Inquiries to:                                       Suite 2600
                                                                                      Charles Estrada
                                                                                                                                        Los Angeles, CA 90067-3012
                                                                                      310-788-4434
                                                                                      charles.estrada@katten.com



                                                                        December 10, 2020

    CBS Corporation                                                                                                                 Invoice No. 1301660883
    Attn: Carl Benedetti                                                                                                                  Client No. 205089
    Assistant GC, Litigation                                                                                                               Matter No. 00020
    4024 Radford Avenue
    Studio City, CA 91604
                                                                                                                                                  FEIN: XX-XXXXXXX


 Re: ViacomCBS adv. Washington (205089.00020)
     Docket/Claim Number: 116800
 For legal services rendered through November 30, 2020........................................................                                        $2,800.00
 Less 15% Fee Discount ...................................................................................................................             (420.00)
                                                                                                             Sub-Total Fees:                           $2,380.00




                                                                                    CURRENT INVOICE TOTAL:                                            $2,380.00




                                                                                                                                                             51
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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                   Hours
 02 Nov 20 Halberstadter, David     Review Court's Order to Show Cause and send to                 0.20
                                    clients
 09 Nov 20 Halberstadter, David     Review motion to withdraw filed by plaintiff's counsel          0.30
                                    (0.2); emails to and from C. Benedetti and M. van
                                    Oppen regarding same (0.1)
 10 Nov 20 Halberstadter, David     Review and analyze letter to court from C. Washington           0.50
                                    and form motion to amend complaint (0.4); email to C.
                                    Benedetti and M. van Oppen regarding same (0.1)
 16 Nov 20 Halberstadter, David     Check docket for action on counsel's motion to                  0.20
                                    withdraw and Washington's motion for leave to amend
 23 Nov 20 Halberstadter, David     Review court order discharging order to show cause              0.70
                                    and setting hearing for plaintiff's motion for leave to
                                    amend complaint (0.1); review local rules regarding
                                    amendment of pleadings and pre-filing meet and confer
                                    (0.2); miscellaneous emails to and from C. Benedetti
                                    and M. van Oppen discussing potential responsive
                                    strategies (0.4)
 24 Nov 20 Halberstadter, David     Strategize with S. Palmer regarding opposition to               0.20
                                    plaintiff's motion for leave to file amended pleading
 30 Nov 20 Halberstadter, David     Review and revise draft opposition to plaintiff's motion        0.70
                                    for leave to file amended complaint
                                                                                    TOTALS:         2.80


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate             Amount

 32982    Halberstadter, David                                       2.80   1,000.00           $2,800.00
                                                   TOTAL:            2.80                      $2,800.00




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                                                                                                 2029 Century Park East
                                                                                                              Suite 2600
                                                                                             Los Angeles, CA 90067-3012

                                              REMITTANCE
        Please include this remittance advice with your payment to ensure proper account crediting

 Attorney:      32982 - David Halberstadter                                     Invoice No.:            1301660883
 Client:        205089 - CBS Corporation                                        Invoice Date:             10 Dec 20
 Matter:        00020 - ViacomCBS adv. Washington

                                                              Current Invoice Charges:                    $2,380.00


 PREVIOUS BALANCE DUE:
 Invoice Date Invoice No.            Matter                  Invoice Total     Current Balance

 18 Nov 20         1301656282        00020                   1,105.00     1,105.00
                                                     TOTAL OUTSTANDING BALANCE :                            $1,105.00


                                                                 TOTAL BALANCE DUE:                        $3,485.00


                                                 Wire Instructions:
                                               Reference: 205089.00020


                                                     US Bank NA
                                             209 S. LaSalle Street, Ste. 200
                                                   Chicago, Il 60604
                                                  ABA # 071904779
                                              Swift Code: USBKUS44imt

                                   For Credit To: Katten Muchin Rosenman LLP
                                                Operating Account
                                             Account # 199355795089

             When wiring a payment please fax a copy of the Remittance to Rebecca Flint at 310-712-8457

     Please direct any billing inquiries to Charles Estrada at 310-788-4434 or e-mail charles.estrada@katten.com




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                                                                                                                                            2029 Century Park East
                                                                                      Direct Billing Inquiries to:                                       Suite 2600
                                                                                      Charles Estrada
                                                                                                                                        Los Angeles, CA 90067-3012
                                                                                      310-788-4434
                                                                                      charles.estrada@katten.com



                                                                          January 12, 2021

    CBS Corporation                                                                                                                 Invoice No. 1301667212
    Attn: Carl Benedetti                                                                                                                  Client No. 205089
    Assistant GC, Litigation                                                                                                               Matter No. 00020
    4024 Radford Avenue
    Studio City, CA 91604
                                                                                                                                                  FEIN: XX-XXXXXXX


 Re: ViacomCBS adv. Washington (205089.00020)
     Docket/Claim Number: 116800
 For legal services rendered through December 31, 2020.........................................................                                       $2,725.00
 Less 15% Fee Discount ...................................................................................................................             (408.75)
                                                                                                             Sub-Total Fees:                           $2,316.25




                                                                                    CURRENT INVOICE TOTAL:                                            $2,316.25




                                                                                                                                                             55
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                                  #:814



                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                  Hours
 01 Dec 20 Palmer, Shelby           Revise opposition to FAC                                      0.60
 02 Dec 20 Halberstadter, David     Review and analyze proposed client revisions to               0.90
                                    opposition to motion for leave to amend (0.5); emails
                                    to and from S. Palmer regarding same (0.2); email to
                                    clients and from regarding same (0.2)
 03 Dec 20 Palmer, Shelby           Implement client suggestions into opposition to FAC            0.50
                                    (.4); email deputy clerk re call-in options (.1)
 07 Dec 20 Palmer, Shelby           Finalize and file opposition to FAC                            0.70
 10 Dec 20 Halberstadter, David     Email to S. Palmer regarding upcoming hearing (0.1);           0.20
                                    email to C. Benedetti and M. van Oppen regarding
                                    same (0.1)
 10 Dec 20 Palmer, Shelby           Prepare outline for hearing on Plaintiff's motion for          0.70
                                    leave to amend
 15 Dec 20 Halberstadter, David     Review court order regarding plaintiff's motion for            0.20
                                    leave to file amended complaint (0.1); emails to and
                                    from clients regarding same (0.1)
 29 Dec 20 Halberstadter, David     Check court docket to determine whether plaintiff              0.20
                                    timely lodged proposed amended complaint
                                                                                    TOTALS:        4.00


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate            Amount

 32982    Halberstadter, David                                       1.50   1,000.00          $1,500.00
 44599    Palmer, Shelby                                             2.50     490.00          $1,225.00
                                                   TOTAL:            4.00                     $2,725.00




                                                                                                  56
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                                  #:815




                                                                                                 2029 Century Park East
                                                                                                              Suite 2600
                                                                                             Los Angeles, CA 90067-3012

                                              REMITTANCE
        Please include this remittance advice with your payment to ensure proper account crediting

 Attorney:      32982 - David Halberstadter                                     Invoice No.:            1301667212
 Client:        205089 - CBS Corporation                                        Invoice Date:             12 Jan 21
 Matter:        00020 - ViacomCBS adv. Washington

                                                              Current Invoice Charges:                    $2,316.25


 PREVIOUS BALANCE DUE:
 Invoice Date Invoice No.            Matter                  Invoice Total     Current Balance

 18 Nov 20         1301656282        00020                   1,105.00     1,105.00
 10 Dec 20         1301660883        00020                   2,380.00     2,380.00
                                                     TOTAL OUTSTANDING BALANCE :                            $3,485.00


                                                                 TOTAL BALANCE DUE:                        $5,801.25


                                                 Wire Instructions:
                                               Reference: 205089.00020


                                                     US Bank NA
                                             209 S. LaSalle Street, Ste. 200
                                                   Chicago, Il 60604
                                                  ABA # 071904779
                                              Swift Code: USBKUS44imt

                                   For Credit To: Katten Muchin Rosenman LLP
                                                Operating Account
                                             Account # 199355795089

             When wiring a payment please fax a copy of the Remittance to Rebecca Flint at 310-712-8457

     Please direct any billing inquiries to Charles Estrada at 310-788-4434 or e-mail charles.estrada@katten.com




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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                                   Hours
 23 Feb 21 Halberstadter, David     Emails from and to Plaintiff regarding providing               0.10
                                    courtesy copy of reply brief
 23 Feb 21 Palmer, Shelby           Finalize and file Reply                                         0.60
 24 Feb 21 Halberstadter, David     Review belated e-notifications from the court                   0.20
                                    regarding docketing of plaintiff's response and
                                    supporting declaration in opposition to motion to
                                    dismiss; emails to and from S. Palmer regarding court's
                                    apparent "backdating" of the docketing date
 26 Feb 21 Halberstadter, David     Review Minute Order changing motion hearing date                0.20
                                    and email to clients regarding same
                                                                                  TOTALS:          16.80


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate             Amount

 32982    Halberstadter, David                                       8.80   1,000.00           $8,800.00
 44599    Palmer, Shelby                                             8.00     490.00           $3,920.00
                                                   TOTAL:           16.80                     $12,720.00




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                                  #:827




                                                                                                                                            2029 Century Park East
                                                                                      Direct Billing Inquiries to:                                       Suite 2600
                                                                                      Charles Estrada
                                                                                                                                        Los Angeles, CA 90067-3012
                                                                                      310-788-4434
                                                                                      charles.estrada@katten.com



                                                                            April 22, 2021

    CBS Corporation                                                                                                                 Invoice No. 1301686715
    Attn: Carl Benedetti                                                                                                                  Client No. 205089
    Assistant GC, Litigation                                                                                                               Matter No. 00020
    4024 Radford Avenue
    Studio City, CA 91604
                                                                                                                                                  FEIN: XX-XXXXXXX


 Re: ViacomCBS adv. Washington (205089.00020)
     Docket/Claim Number: 116800
 For legal services rendered through March 31, 2021 ...............................................................                                    $6,735.00
 Less 15% Fee Discount ...................................................................................................................            (1,010.25)
                                                                                                             Sub-Total Fees:                            $5,724.75




                                                                                    CURRENT INVOICE TOTAL:                                            $5,724.75




                                                                                                                                                             69
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                                    PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

 Date      Attorney or Assistant    Description                                              Hours
 17 Mar 21 Halberstadter, David     Preliminary preparation for hearing on motion to          0.70
                                    dismiss amended complaint
 18 Mar 21 Halberstadter, David     Review motion to dismiss, response and reply in            1.60
                                    preparation for drafting hearing outline
 22 Mar 21 Halberstadter, David     Prepare for hearing on motion to dismiss                   1.80
 23 Mar 21 Halberstadter, David     Attend hearing on motion to dismiss amended                1.50
                                    complaint.
 23 Mar 21 Halberstadter, David     Report to clients regarding same.                          0.20
 23 Mar 21 Halberstadter, David     Follow up with S. Palmer regarding same.                   0.20
 23 Mar 21 Palmer, Shelby           Hearing on Motion to Dismiss                               1.50
                                                                                TOTALS:        7.50


                            SUMMARY OF PROFESSIONAL SERVICES
                                  Matter 00020: ViacomCBS adv. Washington

          Attorney or Assistant                                    Hours       Rate        Amount

 32982    Halberstadter, David                                       6.00   1,000.00      $6,000.00
 44599    Palmer, Shelby                                             1.50     490.00        $735.00
                                                   TOTAL:            7.50                 $6,735.00




                                                                                              70
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                                  #:829




                                                                                                 2029 Century Park East
                                                                                                              Suite 2600
                                                                                             Los Angeles, CA 90067-3012

                                              REMITTANCE
        Please include this remittance advice with your payment to ensure proper account crediting

 Attorney:      32982 - David Halberstadter                                     Invoice No.:            1301686715
 Client:        205089 - CBS Corporation                                        Invoice Date:             22 Apr 21
 Matter:        00020 - ViacomCBS adv. Washington

                                                              Current Invoice Charges:                    $5,724.75


 PREVIOUS BALANCE DUE:
 Invoice Date Invoice No.            Matter                  Invoice Total     Current Balance

 28 Feb 21         1301681834        00020                  34,544.00    34,544.00
 27 Mar 21         1301681835        00020                  10,812.00    10,812.00
 29 Mar 21         1301681985        00020                     425.00       425.00
 29 Mar 21         1301681987        00020                   1,190.00     1,190.00
                                                     TOTAL OUTSTANDING BALANCE :                           $46,971.00


                                                                 TOTAL BALANCE DUE:                       $52,695.75


                                                 Wire Instructions:
                                               Reference: 205089.00020


                                                     US Bank NA
                                             209 S. LaSalle Street, Ste. 200
                                                   Chicago, Il 60604
                                                  ABA # 071904779
                                              Swift Code: USBKUS44imt

                                   For Credit To: Katten Muchin Rosenman LLP
                                                Operating Account
                                             Account # 199355795089

             When wiring a payment please fax a copy of the Remittance to Rebecca Flint at 310-712-8457

     Please direct any billing inquiries to Charles Estrada at 310-788-4434 or e-mail charles.estrada@katten.com




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                                                                                                                                                                          Katten Muchin Rosenman LLP
                                                                                                                                                                      2029 Century Park East, Suite 2600
                                                                                                                                                                           Los Angeles CA 90067-3012
                                                                                                                                                                                              Tel: 310-788-4400
                                                                                                                                                                                              Fax: 310-788-4471
May 31, 2021
                                                                                                                                                                                 Federal Tax ID:XX-XXXXXXX
Carl Benedetti                                                                                                                                                                                www.katten.com

CBS Television Studios
4024 Radford Avenue
Studio City CA 91604                                                                                                                                Client:                                      0000205089
                                                                                                                                                    Payer:                                       0008002895
                                                                                                                                                    Matter:                                    205089.00020
Claim #                      116800                                                                                                                 Invoice #:                                   9020004029
                                                                                                                                                    Invoice Due Date:                          Payable Upon
                                                                                                                                                                                                     Receipt


                                                                                                                                                                                               Page No:       1

Summary


RE: ViacomCBS adv. Washington

For Professional Services Rendered Through April 30, 2021



Fees Total.............................................................................................................................................................                       372.50
Applicable Discount(-15.00%) ............................................................................................................................                                     -55.88
Fees After Discount .............................................................................................................................................                             316.62
Total Amount Due ..............................................................................................................................................                               316.62     USD




Payment can be remitted directly to our account:
Please reference: 205089.00020

US Bank NA
209 S. LaSalle Street, Ste. 200
Chicago, IL 60604
ABA #071904779
Swift Code: USBKUS44imt

For credit to: Katten Muchin Rosenman LLP
Account # 199355795089

When wiring a payment please e-mail a copy of the remittance to payments@katten.com

Direct billing inquiries to LABillingInquiries@katten.com

Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.

Katten Muchin Rosenman LLP is an Illinois Limited Liability Partnership including professional corporations that has elected to be governed by the Illinois Uniform Partnership Act (1997).

Katten Muchin Rosenman UK LLP is a Limited Liability Partnership of solicitors and registered foreign lawyers registered in England and Wales.
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                                     #:832
Matter:             205089.00020                                                                       Page No: 2
Invoice #:          9020004029                                                                         May 31, 2021
Invoice Due Date:   Payable Upon Receipt


RE: ViacomCBS adv. Washington

TIME DETAILS
Date           Timekeeper         Description                                                                         Hours
04/15/2021     Hill, Joanna       Review and analyze recent filings including second motion to dismiss and               0.50
                                  supporting papers; review client emails.
                                                                                         Total Hours :                   0.50




                                                                                                                    74
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                                      #:833
Matter:             205089.00020                                                     Page No: 3
Invoice #:          9020004029                                                       May 31, 2021
Invoice Due Date:   Payable Upon Receipt


TIME SUMMARY
United States
Name                                                 Hours                   Rate                 Amount
Hill, Joanna                                           0.50                 745.00                  372.50

                                     Sub Total :       0.50   Sub Total :                           372.50
                                     Total Hours :     0.50   Total Fees                   372.50      USD




                                                                                                  75
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                         EXHIBIT 5
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                                   #:835

Invoice Date   Services Through   Fees                Costs               Invoice Total
2020.04.10     2020.01.31                $27,745.55             $25.50            $27,771.05
2020.04.10     2020.02.29                $70,807.93            $953.10            $71,761.03
2020.04.11     2020.03.31                $28,020.95             $72.93            $28,093.88
2020.05.19     2020.04.30                $31,445.33              $0.00            $31,445.33
2020.07.20     2020.06.30                $12,089.13              $0.00            $12,089.13
2020.08.21     2020.07.31                 $1,626.48              $0.00             $1,626.48
2020.09.26     2020.08.31                 $2,778.23              $0.00             $2,778.23
2020.10.29     2020.09.30                 $1,955.00              $0.00             $1,955.00
2020.11.18     2020.10.31                 $1,105.00              $0.00             $1,105.00
2020.12.10     2020.11.30                 $2,380.00              $0.00             $2,380.00
2021.01.12     2020.12.31                 $2,316.25              $0.00             $2,316.25
2021.02.28     2021.01.31                $34,544.00              $0.00            $34,544.00
2021.03.27     2021.02.28                $10,812.00              $0.00            $10,812.00
2021.04.22     2021.03.31                 $5,724.75              $0.00             $5,724.75
2021.05.31     2021.04.30                  $316.62               $0.00               $316.62

TOTAL                                $233,667.22              $1,051.53         $234,718.75




                                                 1
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Invoice Date   Services     Costs          Category
2020.04.10     2020.01.31           $25.50 Postage
2020.04.10     2020.03.31           $36.53 FedEx
Subtotal                            $62.03

2020.04.10     2020.02.29            $9.00   PACER
2020.04.10     2020.02.29            $1.00   PACER
2020.04.10     2020.02.29           $24.60   PACER
2020.04.10     2020.03.31           $21.90   PACER
2020.04.10     2020.03.31            $2.70   PACER
2020.04.10     2020.03.31            $1.20   PACER
2020.04.10     2020.03.31           $10.00   PACER
Subtotal                            $70.40

2020.04.10     2020.03.31            $0.60 Copying


2020.04.10     2020.02.29       $281.00 S. Palmer Court Application


2020.04.10     2020.02.29       $637.50 Copyright Deposit Copy




TOTAL COSTS                   $1,051.53




                                                2
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                                  D. Halberstadter     J. Hill     S. Palmer
Invoice Date   Services Through
2020.04.10     2020.01.31                       19.2        16.4          8.5
2020.04.10     2020.02.29                       39.8        41.5         61.7
2020.04.11     2020.03.31                       11.5        15.2         26.7
2020.05.19     2020.04.30                       21.1        14.1          11
2020.07.20     2020.06.30                        6.4        10.5            0
2020.08.21     2020.07.31                        0.2         2.3            0
2020.09.26     2020.08.31                        2.3         1.3            0
2020.10.29     2020.09.30                        2.3           0            0
2020.11.18     2020.10.31                        1.3           0            0
2020.12.10     2020.11.30                        2.8           0            0
2021.01.12     2020.12.31                        1.5           0          2.5
2021.02.28     2021.01.31                       27.9           0          26
2021.03.27     2021.02.28                        8.8           0            8
2021.04.22     2021.03.31                          6           0          1.5
2021.05.31     2021.04.30                          0         0.5            0

Total Hours                                   151.1       101.8         145.9




                                          3
